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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                        )
In re:                                                                  )
                                                                        )   Chapter 11
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )   Case No. 19-34054 (SGJ)
                              Debtor.                                   )
                                                                        )
                                                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                       )
                                                                        )
                              Plaintiff,                                )
vs.                                                                     )   Adv. Pro. No. 21-03004 (SGJ)
                                                                        )
HIGHLAND CAPITAL MANAGEMENT FUND                                        )
ADVISORS, L.P.,                                                         )
                                                                        )
                              Defendant.                                )
                                                                        )

                                      CERTIFICATE OF SERVICE

     I, Elliser Silla, depose and say that I am employed by Kurtzman Carson Consultants LLC
(“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On August 23, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

      •   Agreed Protective Order [Docket No. 62]


Dated: August 26, 2021
                                                          /s/ Elliser Silla
                                                          Elliser Silla
                                                          KCC
                                                          222 N Pacific Coast Highway, Suite 300
                                                          El Segundo, CA 90245



1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                             EXHIBIT A
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                                                                Exhibit A
                                                          Adversary Service List
                                                         Served via Electronic Mail


             Description                       CreditorName               CreditorNoticeName                       Email
Financial Advisor to Official Committee                             Earnestiena Cheng, Daniel H   Earnestiena.Cheng@fticonsulting.com;
of Unsecured Creditors                  FTI Consulting              O'Brien                       Daniel.H.O'Brien@fticonsulting.com
                                                                    Melissa S. Hayward, Zachery Z.MHayward@HaywardFirm.com;
Counsel for the Debtor               Hayward & Associates PLLC      Annable                       ZAnnable@HaywardFirm.com
Counsel for UBS Securities LLC and                                  Andrew Clubok, Sarah          andrew.clubok@lw.com;
UBS AG London Branch                 Latham & Watkins LLP           Tomkowiak                     sarah.tomkowiak@lw.com
Counsel for UBS Securities LLC and                                  Asif Attarwala, Kathryn K.    asif.attarwala@lw.com;
UBS AG London Branch                 Latham & Watkins LLP           George                        Kathryn.George@lw.com
Counsel for UBS Securities LLC and                                  Jeffrey E. Bjork, Kimberly A. jeff.bjork@lw.com;
UBS AG London Branch                 Latham & Watkins LLP           Posin                         kim.posin@lw.com
Counsel for UBS Securities LLC and                                                                Zachary.Proulx@lw.com;
UBS AG London Branch                 Latham & Watkins LLP           Zachary F. Proulx, Jamie Wine Jamie.Wine@lw.com
Counsel for Highland Capital
Management Fund Advisors, L.P.,
NexPoint Advisors, L.P., Highland
Income Fund, NexPoint Strategic
Opportunities Fund and NexPoint      Munsch Hardt Kopf & Harr,      Davor Rukavina, Esq., Julian P. drukavina@munsch.com;
Capital Inc.                         P.C.                           Vasek, Esq.                     jvasek@munsch.com
                                                                                                    mclemente@sidley.com;
                                                                    Matthew Clemente, Alyssa        alyssa.russell@sidley.com;
Counsel for Official Committee of                                   Russell, Elliot A. Bromagen,    ebromagen@sidley.com;
Unsecured Creditors                  Sidley Austin LLP              Dennis M. Twomey                dtwomey@sidley.com
                                                                                                    preid@sidley.com;
                                                                    Penny P. Reid, Paige Holden     pmontgomery@sidley.com;
Counsel for Official Committee of                                   Montgomery, Juliana Hoffman, jhoffman@sidley.com;
Unsecured Creditors                  Sidley Austin LLP              Chandler M. Rognes              crognes@sidley.com




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                             EXHIBIT B
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                                                                                   Exhibit B
                                                                            Adversary Service List
                                                                           Served via First Class Mail


             Description                       CreditorName                  CreditorNoticeName                    Address1                Address2        City   State    Zip
Counsel for UBS Securities LLC and                                     Andrew Clubok, Sarah              555 Eleventh Street, NW, Suite
UBS AG London Branch                  Latham & Watkins LLP             Tomkowiak                         1000                                          Washington DC      20004
Counsel for UBS Securities LLC and                                     Asif Attarwala, Kathryn K.        330 North Wabash Avenue,
UBS AG London Branch                  Latham & Watkins LLP             George                            Ste. 2800                                     Chicago    IL      60611
Counsel for UBS Securities LLC and                                     Jeffrey E. Bjork, Kimberly A.
UBS AG London Branch                  Latham & Watkins LLP             Posin                             355 S. Grand Ave., Ste. 100                   Los Angeles CA     90071
Counsel for UBS Securities LLC and
UBS AG London Branch                  Latham & Watkins LLP             Zachary F. Proulx, Jamie Wine     1271 Avenue of the Americas                   New York   NY      10020
Counsel for Highland Capital
Management Fund Advisors, L.P.,
NexPoint Advisors, L.P., Highland
Income Fund, NexPoint Strategic
Opportunities Fund and NexPoint                                        Davor Rukavina, Esq., Julian P.                                    500 N. Akard
Capital Inc.                          Munsch Hardt Kopf & Harr, P.C.   Vasek, Esq.                       3800 Ross Tower                  Street       Dallas     TX      75202




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